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                                  AMENDED AND RESTATED

                                COMMERCIAL GROUND LEASE

1.         PARTIES

767 8th Avenue LLC, a Delaware limited liability company, having an address at c/o Sherman
Equities, 302 West 47th Street, New York, New York 10036 ("Lessor"), which expression shall
include its heirs, successors, and assigns where the context so admits, does 'hereby execute this
lease with Sherman Management LLC, a Delaware limited liability company, having an address
at c/o Sherman Equities, 302 West 47th Street, New York, New York 10036 ("Lessee"), which
expression shall include its successors, executors, administrators,, and assigns where the context
so admits, on this 6H-1-% of May, 2012.

2.         PREMISES

Lessee hereby leases the following described premises:

                  All of that certain parcel of land situated in the State, County and City of New
                  York, now known as and numbered 767 8th Avenue, as further described on
                  Exhibit A attached hereto and made a part hereof, together with all improvements
                  located thereon and all appurtenances (the "Premises").

3.        TERM

The term of this lease shall be for 20 years commencing on the date hereof and ending on May
°I, 2032. Notwithstanding anything to contrary provided for herein, Lessor shall have the right
to terminate this lease at any time there is no Mortgage (as hereinafter defined) encumbering the
Premises.

4.        RENT

Lessee shall pay to Lessor fixed rent at the rate of $10.00 per year, payable on 1st day of each
year of the term. All rent shall be payable without offset or deduction.

5.        TAXES

Lessee shall pay, or cause to be paid, as they become due, all real estate taxes on the land and
buildings constituting the Premises.

6.        UTILITIES

Lessee shall pay, as they become due, all bills for electricity and other utilities furnished to the
Premises.

7.        USE OF LEASED PREMISES

Lessee shall use the Premises for any legal purpose.



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8.          COMPLIANCE WITH LAWS

Lessee acknowledges that no trade or occupation shall be conducted in the Premises or use made
thereof which will be unlawful, improper, noisy or offensive, or contrary to any law or any
municipal by-law or ordinance in force in the city or town in which the Premises are situated.

9.          FIRE INSURANCE

Lessee shall not permit any use of the Premises which will make voidable any insurance on the
property of which the Premises are a part, or on the contents of said property. Lessee shall on
demand reimburse Lessor all extra insurance premiums caused by Lessee of the Premises.

10.         MAINTENANCE

Lessee agrees to maintain the Premises in good condition, damage by fire and other casualty only
excepted, and whenever necessary, to replace plate glass and other glass therein, acknowledging
that the Premises are now in good order and the glass whole. Lessee shall not permit the
Premises to be overloaded, damaged, stripped, or defaced, nor suffer any waste.

11.         ALTERATIONS — ADDITIONS

Lessee shall not make structural alterations or additions to the Premises unless Lessor consents
thereto in writing, which consent shall not be unreasonably withheld or delayed. All such
allowed alterations shall be, at Lessee's expense and shall be in quality at least equal to the
present construction. Lessee shall not permit any mechanics' liens, or similar liens, to remain
upon the Premises for labor and material furnished to Lessee or claimed to have been furnished
to Lessee in connection with work of any character performed or claimed to have been
performed at the direction of Lessee and shall cause any such lien to be released of record
forthwith without cost to Lessor. Any alterations or Improvements made by Lessee shall become
the property of Lessor at the termination of occupancy as provided herein.

12.         ASSIGNMENT — SUBLEASING

Lessee may assign or sublet the whole or any part of the Premises without Lessor's prior written
consent. Notwithstanding such consent, Lessee shall remain liable to Lessor for the payment of
all rent and for the full performance 'of the covenants and conditions of this lease.

13.         SUBORDINATION

This lease shall be subject and subordinate to any and all mortgages, deeds of trust and other
instruments in the nature of a mortgage, now or at any time hereafter, a lien or liens on the
property of which the Premises are a part and Lessee shall, when requested, promptly execute
and deliver such written instruments as shall be necessary to show the subordination of this lease
to said mortgages, deeds of trust or other such instruments in the nature of a mortgage, deeds of
trust or other such instruments in the nature of a mortgage.

14.         LESSOR'S ACCESS



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Lessor or agents of Lessor may, at reasonable times, enter to view the Premises and make repairs
and alterations as Lessor should elect to do and may show the Premises to others.

15.       INDEMNIFICATION AND LIABILITY

Lessee shall save Lessor harmless from all loss and damage occasioned by anything occurring on
the Premises unless caused by the gross negligence or willful misconduct of Lessor, and from all
loss or damage wherever occurring occasioned by any omission, fault, neglect or other
misconduct of Lessee. The removal of snow and ice from the sidewalks bordering upon the
Premises shall be Lessee's sole responsibility.

16.       LESSEE'S LIABILITY INSURANCE

Lessee shall maintain with respect to the Premises comprehensive public liability and property
damage insurance in such amount as it deems necessary in responsible companies qualified to do
business in New York and in good standing therein insuring Lessor as well as Lessee against
injury to persons or damage to property as provided. Lessee shall deposit with Lessor certificates
for such insurance at or prior to the commencement of the term, and thereafter within thirty (30)
days prior to the expiration of any such policies. All such insurance certificates shall provide that
such policies shall not be cancelled without at least ten (10) days prior written notice to each
assured named therein.

17.       FIRE, CASUALTY — EMINENT DOMAIN

Should a substantial portion of the Premises, or of the property of which they are a part, be
substantially damaged by fire or other casualty, or be taken by eminent domain, Lessor may elect
to terminate this lease. When such fire, casualty, or taking renders the Premises substantially
unsuitable for their intended use, a just and proportionate abatement of rent shall be made, and
Lessee may elect to terminate this lease if Lessor fails to give written notice within thirty (30)
days of intention to restore the Premises or Lessor fails to restore the Premises to a condition
substantially suitable for their intended use within ninety (90) days of said fire, casualty or
taking.

Lessor reserves, and Lessee grants to Lessor, all rights which Lessee may have for damages or
injury to the Premises for any taking by eminent domain, except for damage to Lessee's fixtures,
property, or equipment.

18.       DEFAULT AND BANKRUPTCY

If (a) Lessee shall default in the payment of any installment of rent or other sum herein specified
and such default shall continue for ten (10) days after written notice thereof, (b) Lessee shall
default in the observance or performance of any other of Lessee's covenants, agreements, or
obligations hereunder and such default shall not be corrected within thirty (30) days after written
notice thereof or (c) Lessee shall be declared bankrupt or insolvent according to law, or, if any
assignment shall be made of Lessee's property for the benefit of creditors, then Lessor shall have
the right thereafter, while such default continues, to re-enter and take complete possession of the
Premises, to declare the term of this lease ended, and remove Lessee's effects, without prejudice
to any remedies which might be otherwise used for arrears of rent or other default. Lessee shall

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indemnify Lessor against all loss of rent and other payments which Lessor may incur by reason
of such termination during the residue of the term. If Lessee shall default, after reasonable notice
thereof, in the observance or performance of any conditions or covenants on Lessee's part to be
observed or performed under or by virtue of any of the provisions in any article of this lease,
Lessor, without being under any obligation to do so and without thereby waiving such default,
may remedy such default for the account and at the expense of Lessee. If Lessor makes any
expenditures or incurs any obligations for the payment of money in connection therewith,
including but not limited to, reasonable attorney's fees in instituting, prosecuting or defending
any action or proceeding, such sums paid or obligations insured, with interest at the rate of ten
(10%) percent per annum and costs, shall be paid to Lessor by Lessee as additional rent.

19.     NOTICE

Any notices relating to the Premises shall be deemed duly served, if delivered by hand or if
mailed by registered or certified mail, return receipt requested, postage prepaid, addressed to the
recipient part at the address given below:

                Sherman Management LLC
                767 8th Avenue
                New York, New York 10036
                Attn: Ronica Sharma

                767 8th Avenue LLC
                767 8th Avenue
                New York, New York 10036
                Attn: Ronica Sharma

20.     SURRENDER

Lessee shall at the expiration or other termination of this lease remove all Lessee's goods and
effects from the Premises at Lessee's sole cost and expense. Lessee shall deliver to Lessor the
Premises and all keys, locks thereto, and other fixtures connected therewith and all alterations
and additions made to or upon the Premises, in good condition, damage by normal wear and tear
or other casualty only excepted. If Lessee fails to remove any of Lessee's property from the
Premises, Lessor is hereby authorized, without liability to Lessee for loss or damage thereto, and
at the sole risk of Lessee, to remove and store any of the property at Lessee's expense, or to
retain same under Lessor's control or to sell at public or private sale, without notice any or all of
the property not so removed and to apply the net proceeds of such sale to the payment of any
sum due hereunder, or to destroy such property.

21.     CONDITION OF PREMISES

Except as may be otherwise expressly set forth herein, Lessee shall accept the Premises "as is" in
their condition as of the commencement of the term of this lease, and Lessor shall be obligated to
perform no work whatsoever in order to prepare the Premises for occupancy by Lessee.

22.     FORCE MAJEURE


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If Lessor is prevented or delayed from making any repairs or performing any other covenant
hereunder by reason of any cause reasonably beyond the control of Lessor, Lessor shall not be
liable to Lessee therefor nor, except as expressly otherwise provided In case of casualty or
taking, shall Lessee be entitled to any abatement or reduction of rent by reason thereof, nor shall
the same give rise to a claim by Lessee that such failure constitutes actual or constructive
eviction from the Premises or any part thereof.

23.      LATE CHARGE

If rent or any other sum payable hereunder remains outstanding for a period of ten (10) days,
Lessee shall pay to Lessor a late charge equal to one and one-half percent (1.5%) of the amount
due for each month or portion thereof during which the arrearage continues.

24.      LIABILITY OF OWNER

No owner of the property of which the Premises are a part shall be liable hereunder except for
breaches of Lessor's obligations occurring during the period of such ownership. The obligations
of Lessor shall be binding upon Lessor's interest in said property, but not upon other assets of
Lessor, and no individual partner, member, agent, trustee, stockholder, officer, director,
employee or beneficiary of Lessor shall be personally liable for performance of Lessor's
obligations hereunder.

25.      END OF TERM

If the Premises are not vacated and surrendered in accordance with this lease, on the date
required by this lease, Lessee shall be liable to Lessor for (a) all losses, costs, liabilities and
damages which Lessor incurs by reason thereof, including reasonable attorneys' fees, and Lessee
shall indemnify, defend and hold harmless Lessor against all claims made by any succeeding
lessees against Lessor or otherwise resulting from the failure of Lessee (and all other occupants)
timely to vacate and surrender the Premises in accordance with the terms of this lease, and (b)
per diem use and occupancy in respect of the Premises equal to three times the rent payable
hereunder for the last year of the lease term (which Lessor and Lessee presently agree is the rent
to which Lessor would be entitled, is presently contemplated by them as being fair and
reasonable under such circumstances and is not a penalty). In no event, however, shall this
section be construed as permitting Lessee (and all other occupants) to remain in possession of the
Premises after the expiration date set forth hereinabove.

26.      LEASEHOLD MORTGAGES

       (a)    Leasehold Mortgages Authorized. On one or more occasions without Lessor's
prior consent Lessee may mortgage or otherwise encumber Lessee's leasehold estate
("Leasehold Estate") created by this Lease to an Institutional Investor (as hereinafter defined),
under a Leasehold Mortgage (as hereinafter defined) and assign this Lease as security for such
Mortgage or Mortgages.

        (b)    Fee Mortgage Acknowledge and Authorized. The parties hereto acknowledge
that the fee owner of the Leased Premises may, on one or more occasion without Lessor's or
Lessee's prior consent, mortgage and/or encumber its interest in the Premises under a Mortgage,

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deed of trust or other security instrument to an Institutional Investor (the "Fee Mortgage";
together with Leasehold Mortgagee sometimes hereinafter transferred to a "Mortgage"). Said
current or future Mortgage, deed of trust or other security instrument shall be superior to the
rights of Lessee as provided for in Section 13 hereof.

27.        NOTICE TO LESSOR.

         If Lessee shall, on one or more occasions, mortgage Lessee's Leasehold Estate to an
Institutional Investor, and if the holder of such Leasehold Mortgage shall provide Lessor with
notice of such Leasehold Mortgage and the name and address of the Leasehold Mortgagee
(hereinafter defined), by registered or certified mail, return receipt requested, Lessor and Lessee
agree that, following receipt of such notice by Lessor, the provisions of this Section 27 shall
apply in respect to each such Leasehold Mortgage and the holder of such Leasehold Mortgagee
shall be entitled to the benefit of the provisions of this Section 27.

28.        DEFINITIONS.

        (a)     The term "Institutional Investor" as used herein shall refer to a bank, a savings
bank, savings and loan association, commercial bank, trust company, credit union, commercial
credit corporation, insurance company, college, university, real estate investment trust,
investment bank, pension plan, pension advisory firm, pension fund, mutual fund, government
entity or plan. The term "Institutional Investor" shall also include other lenders of substance
which perform functions similar to any of the foregoing, and which have assets in excess of fifty
million dollars ($50,000,000) at the time the Leasehold Mortgage loan is made

        (b)     The term "Leasehold Mortgage" as used herein shall mean any mortgage, deed
of trust, deed to secure debt, or other security instrument by which Lessee's Leasehold Estate is
mortgaged, conveyed, assigned, or otherwise transferred, to secure a debt or other obligation.

        (c)    The terms "Leasehold Mortgagee", "Fee Mortgagee" and "Mortgagee",
respectively, as used herein shall refer to any holder of a Leasehold Mortgage or Fee Mortgage
in respect to which the notice provided for by Section 27 has been given and received.

29.        CONSENT OF MORTGAGEE REQUIRED.

No cancellation, termination, surrender or modification of this Lease shall be effective as to any
Mortgagee unless consented to in writing by such Mortgagee, except as otherwise expressly
permitted herein.

30.        DEFAULT NOTICE.

Lessor, upon providing Lessee any notice of: (i) default under this Lease, (ii) a termination of
this Lease or (iii) a matter on which Lessor may predicate or claim a default, shall at the same
time provide a copy of such notice to every Mortgagee. No such notice by Lessor to Lessee shall
be deemed to have been duly given unless and until a copy thereof has been so provided to every
Mortgagee. From and after such notices have been given to a Mortgagee, such Mortgagee shall
have the same period, after the giving of such notice upon it, for remedying any default or acts or
omissions which are the subject matter of such notice or causing the same to be remedied, as is

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given Lessee after the giving of such notice to Lessee, plus in each instance, the additional
periods of time specified below, to remedy, commence remedying or cause to be remedied the
defaults or acts or omissions which are the subject matter of such notice specified in any such
notice. Lessor shall accept such performance by or at the instigation of such Mortgagee as if the
same had been done by Lessee. Lessee authorizes each Mortgagee to take any such action at
such Mortgagee's option and does hereby authorize entry upon the Premises by the Mortgagee
for such purpose.

31.       NOTICE TO LEASEHOLD MORTGAGEE.

        (a)    Lessee shall provide Mortgagee with copies of all written notices sent to Lessor
pursuant to the Lease simultaneously with the transmission of such notices to the Lessor. Lessee
shall notify Mortgagee of any default by Lessor under the Lease which would entitle Lessee to
cancel the Lease or to an abatement of the rents, additional rents or other sums payable
thereunder, and agrees that, notwithstanding any provisions of the Lease to the contrary, no
notice of cancellation thereof or of such an abatement shall be effective unless Mortgagee shall
have received notice of default giving rise to such cancellation or abatement and shall have failed
within sixty (60) days after receipt of such notice to cure such default, or if such default cannot
be cured within sixty (60) days, shall have failed within sixty (60) days after receipt of such
notice to commence and thereafter diligently pursue any action necessary to cure such default.

       Notwithstanding anything to the contrary contained herein, provided no monetary default
remains uncured beyond any applicable notice and grace periods to which Lessee and Mortgagee
are entitled, this Lease may not be terminated by Lessor by reason of any default by Lessee
which is not susceptible of cure by Mortgagee.

        (b)     Any notice to be given by Lessor to a Mortgagee pursuant to any provision of this
Section 31 shall be deemed properly addressed if sent to the Mortgagee who served the notice
referred to in paragraph 45 of the Mortgage (as hereinafter defined) unless notice of a change of
Mortgage ownership or address has been given to Lessor.

32.       PROCEDURE ON DEFAULT.

        (a)     If Lessor shall elect to terminate this Lease by reason of any default of Lessee,
and a Mortgagee shall have proceeded in the manner provided for by Section 31 above, the
specified date for the termination of this Lease as fixed by Lessor in its Termination Notice shall
be extended for a period of six months, provided that such Mortgagee shall, during such six
month period:

                  (1 )     Pay or cause to be paid the rent, additional rent and other monetary
          obligations of Lessee under this Lease as the same become due, and continue its good
          faith efforts to perform all of Lessee's other obligations under this Lease, excepting (A)
          obligations of Lessee to satisfy or otherwise discharge any lien, charge or encumbrance
          against Lessee's interest in this Lease or the Premises junior in priority to the lien of the
          mortgage held by such Mortgagee and (B) past nonmonetary obligations then in default
          and not reasonably susceptible of being cured by such Mortgagee; and

                 (2)     if not enjoined or stayed, take steps to acquire or sell Lessee's interest in

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         this Lease by foreclosure of the Leasehold Mortgage or other appropriate means and
         prosecute the same to completion with due diligence.

        (b)      If at the end of such six (6) month period such Mortgagee is complying with
subparagraph (a) of Section 32 above, this Lease shall not then terminate, and the time for
completion by such Mortgagee of its proceedings shall continue so long as such Mortgagee is
enjoined or stayed and thereafter for so long as such Mortgagee proceeds to complete steps to
acquire or sell Lessee's interest in this Lease by foreclosure of the Leasehold Mortgage or by
other appropriate means with reasonable diligence and continuity. Nothing herein shall be
construed to either: (i) extend this Lease beyond the original term thereof as extended by any
options to extend the term of this Lease properly exercised by Lessee or a Mortgagee as provided
herein; or (ii) require a Mortgagee to continue such foreclosure proceedings after the default has
been cured. If the default shall be cured and the Mortgagee shall discontinue such foreclosure
proceedings, this Lease shall continue in full force and effect as if Lessee had not defaulted
under this Lease.

        (c)     If a Mortgagee is complying with subparagraph (a) of Section 32 above, upon the
acquisition of Lessee's Leasehold Estate herein by such Mortgagee or its designee or any other
purchaser at a foreclosure sale or otherwise and the discharge of any lien, charge or encumbrance
against the Lessee's interest in this Lease or the Premises which is junior in priority to the lien of
the Leasehold Mortgage held by such Mortgagee and which the Lessee is obligated to satisfy and
discharge by reason of the terms of this Lease, this Lease shall continue in full force and effect as
if Lessee had not defaulted under this Lease.

       (d)     For the purpose of this Section 32, the making of a Leasehold Mortgage shall not
be deemed to constitute an assignment or transfer of this Lease or of the Leasehold Estate hereby
created, nor shall any Mortgagee, as such, be deemed to be an assignee or transferee of this
Lease or of the Leasehold Estate hereby created so as to require such Mortgagee, as such, to
assume the performance of any of the terms, covenants or conditions on the part of the Lessee to
be performed hereunder, but the purchaser at any sale of this Lease and of the Leasehold Estate
hereby created in any proceedings for the foreclosure of any Leasehold Mortgage, or the
assignee or transferee of this Lease and of the Leasehold Estate hereby created under any
instrument of assignment or transfer in lieu of the foreclosure of any Leasehold Mortgage shall
be deemed to be an assignee or transferee within the meaning of this Section 32, and shall be
deemed to have agreed to perform all of the terms, covenants and conditions on the part of the
Lessee to be performed hereunder from and after the date of such purchase and assignment, but
only for so long as such purchaser or assignee is the owner of the Leasehold Estate.

        (e)     Any Mortgagee or other acquirer of the Leasehold Estate of Lessee pursuant to
foreclosure, assignment in lieu of foreclosure or other proceedings may, upon acquiring Lessee's
Leasehold Estate, without further consent of Lessor, sell and assign the Leasehold Estate on such
terms and to such persons and organizations as are acceptable to such Mortgagee or acquirer and
thereafter be relieved of all obligations under this Lease.

       (0     Notwithstanding any other provisions of this Lease, any sale of this Lease and of
the Leasehold Estate hereby created in any proceedings for the foreclosure of any Leasehold
Mortgage, or the assignment or transfer of this Lease and of the Leasehold Estate hereby created


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in lieu of the foreclosure of any Leasehold Mortgage shall be deemed to be a permitted sale,
transfer or assignment of this Lease and of the Leasehold Estate hereby created.

33.         NEW LEASE.

In the event of the termination of this Lease as a result of Lessee's default (or as provided in
Section 42 below regarding Lessor's bankruptcy), Lessor shall, in addition to providing the
notices of default and termination as required above, provide each Mortgagee with written notice
that the lease has been terminated, together with a statement of all sums which would at that time
be due under this Lease but for such termination, and of all other defaults, if any, then known to
Lessor. Lessor agrees to enter into a new lease ("New Lease") of the Demised Premises with
such Mortgagee or its designee for the remainder of the term of this Lease, effective as of the
date of termination, at the rent and additional rent, and upon the terms, covenants and conditions
(including all options to renew but excluding requirements which are not applicable or which
have already been fulfilled) of this Lease, provided:

                   (1)    Such Mortgagee shall make written request upon Lessor for such New
            Lease within one hundred twenty (120) days after the date such Leasehold Mortgagee
            receives Lessor's Notice of Termination of this Lease given pursuant to this Section 33.

                   (2)     Such Mortgagee or its designee shall pay or cause to be paid to Lessor at
           the time of the execution and delivery of such New Lease, any and all sums which would
           at the time of execution and delivery thereof be due pursuant to this Lease but for such
           termination (excluding any default rate interest, or late charges). Upon the execution of
           such New Lease, Lessor shall allow to the Mortgagee or its designee named therein as an
           offset against the sums otherwise due under this Section 33 or under the New Lease, an
           amount equal to the net income derived by Lessor from the Premises during the period
           from the date of termination of this Lease to the date of the beginning of the lease term of
           such New Lease. In the event of a controversy as to the amount to be paid to Lessor
           pursuant to this Section, the payment obligation shall be satisfied if Lessor shall be paid
           the amount not in controversy, and the Mortgagee or its designee shall agree to pay any
           additional sum ultimately determined to be due.

                  (3)    Any New Lease made pursuant to this Section 33 and any renewal lease
           entered into with a Leasehold Mortgagee shall be subject and subordinate to any
           mortgage or other lien, charge or encumbrance on the fee of the Premises (unless Fee
           Mortgagee elects to have its mortgage subordinated to the Leasehold Estate) and the
           Lessee under such New Lease shall have the same right, title and interest in and to the
           Premises and the Improvements thereon as Lessee had under this Lease.

                   (4)    The Lessee under any such New Lease shall be liable to perform the
           obligations imposed on the Lessee by such New Lease only during the period such person
           has ownership of such Leasehold Estate.

34.        NEW LEASE PRIORITIES.

If more than one Leasehold Mortgagee shall request a New Lease pursuant to Section 33(b),
Lessor shall enter into such New Lease with the Leasehold Mortgagee whose mortgage is prior

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in lien, or with the designee of such Leasehold Mortgagee. Lessor, without liability to Lessee or
any Leasehold Mortgagee with an adverse claim, may rely upon a mortgagee title insurance
policy issued by a responsible title insurance company doing business within the state in which
the Premises are located 'as the basis for determining the appropriate Leasehold Mortgagee who
is entitled to such New Lease.

35.      LEASEHOLD MORTGAGEE NEED NOT CURE SPECIFIED DEFAULTS.

Nothing herein contained shall require any Leasehold Mortgagee or its designee, as a condition
to its exercise of rights hereunder, to cure any default of Lessee not reasonably susceptible of
being cured by such Leasehold Mortgagee or its designee, in order to comply with the provisions
of Sections 31 or 32 or as a condition of entering into the New Lease provided for by Section 33.
The parties agree that non-payment of rent is a default that is reasonably susceptible of being
cured.

36.      NO MERGER.

So long as any Leasehold Mortgage is in existence, unless all Mortgagees shall otherwise
expressly consent in writing, the fee title to the Premises and the Leasehold Estate of Lessee
therein created by this Lease shall not merge but shall remain separate and distinct,
notwithstanding the acquisition of said fee title and said Leasehold Estate by Lessor or by Lessee
or by a third party, by purchase or otherwise.

37.      FUTURE AMENDMENTS.

Lessee and Lessor agree not to amend this Lease without the consent of each Mortgagee. In the
event on any occasions hereafter Lessee seeks to mortgage his Leasehold Estate, Lessor agrees to
amend this Lease from time to time to the extent reasonably requested by an Institutional
Investor proposing to make Lessee a loan secured by a first lien upon Lessee's Leasehold Estate,
provided that such proposed amendments do not materially and adversely affect the rights of
Lessor or his interest in the Premises. All reasonable expenses incurred by Lessor in connection
with any such amendment shall be paid by Lessee.

38.      SECURITY DEPOSIT.

If any Leasehold Mortgagee, its designee or other purchaser has acquired the Leasehold Estate of
Lessee pursuant to foreclosure, conveyance in lieu of foreclosure or other proceedings, or has
entered into a New Lease with Landlord in accordance with Section 33, such Leasehold
Mortgagee, its designee or other purchaser shall succeed to the rights of Lessee, if any, in and to
any security deposit paid by Lessee to Lessor pursuant to the terms of this Lease. In such event,
Lessee shall no longer have any rights to such security deposit, and Lessor shall hold such
security deposit for and on behalf of such Leasehold Mortgagee, its designee or other purchaser.

39.      ESTOPPEL CERTIFICATE.

Lessor shall, without charge, at any time and from time to time hereafter, but not more frequently
than twice in any one-year period (or more frequently if such request is made in connection with
any sale or mortgaging of Lessee's Leasehold interest or permitted subletting by Lessee), within

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10 days after written request of Lessee to do so, certify by written instrument duly executed and
acknowledged to any Leasehold Mortgagee or purchaser, or proposed Leasehold Mortgagee or
proposed purchaser, or any other person, firm or corporation specified in such request: (A) as to
whether this Lease has been supplemented or amended, and if so, the substance and manner of
such supplement or amendment; (B) as to the validity and force and effect of this Lease, in
accordance with its tenor; (C) as to the existence of any default hereunder; (D) as to the existence
of any offsets, counterclaims or defenses hereto on the part of the Lessee; (E) as to the
commencement and expiration dates of the term of this Lease; (F) as to the monthly minimum or
basic rent and Lessee's proportionate share of real estate taxes, insurance, operating expenses
and other sums or charges; and (G) as to any other matters as may be reasonably so requested.
Any such certificate may be relied upon by the Lessee and any other person, firm or corporation
to whom the same may be exhibited or delivered, and the contents of such certificate shall be
binding on the Lessor.

40.      ERRONEOUS PAYMENTS.

No payment made to Lessor by a Mortgagee shall constitute agreement that such payment was,
in fact, due under the terms of this Lease; and a Leasehold Mortgagee having made any payment
to Lessor pursuant to Lessor's wrongful, improper or mistaken notice or demand shall be entitled,
to the return of any such payment or portion.

41.      RENEWAL AND EXTENSION OPTIONS.

       (a)     Lessee hereby expressly authorizes the Mortgagee to exercise any and all renewal
or extension rights or options under this Lease, either on behalf of Lessee or on its own behalf,
and Lessor agrees to accept and recognize such exercise by Mortgagee.

       (b)     In the event that by reason of its failure either to exercise any renewal or
extension right or option under this Lease, or for any other reason whatsoever, Lessee shall not
become entitled to renew this Lease for any renewal or extension term provided for in this Lease,
Lessor shall serve upon the holder of the Leasehold Mortgage written notice thereof and such
holder shall have the option to obtain from Lessor a new lease of the Premises for such renewal
term provided that the holder of the Leasehold Mortgage gives Lessor a written request for such
extension no later than sixty (60) days after the service of the aforementioned notice by Lessor
on such Holder. Within thirty (30) days after the service of such written request, Lessor and the
holder of such Leasehold Mortgage, or such holder's designee, shall enter into a new lease of the
Premises on the terms of conditions of Sections 32 and 33.

42.      BANKRUPTCY.

        (a)    Lessee shall not, in any event, including the bankruptcy, reorganization or
insolvency of Lessee or Lessor, (i) surrender its Leasehold Estate, or any portion thereof, nor
terminate, cancel or acquiesce in the rejection of this Lease; or (ii) modify, change, supplement,
alter or amend this Lease in any respect,, either orally or in writing. Lessee does hereby
expressly release, assign, relinquish and surrender unto the Leasehold Mortgagee all its right,
power and authority to terminate, cancel, acquiesce in the rejection of, modify, change,
supplement, alter or amend this Lease in any respect, either orally or in writing, at any time,



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including in the event of the bankruptcy, reorganization or insolvency of Lessee or Lessor under
this Lease, and any attempt on the part of Lessee to exercise any such right without the consent
of the Leasehold Mortgagee shall be null and void. Notwithstanding the foregoing, in the event
of a threatened termination of this Lease due to the bankruptcy, reorganization or insolvency of
Lessee, Lessee shall, at Leasehold Mortgagee's election,, absolutely assign to Mortgagee, in lieu
of such termination, all of Lessee's right, title and interest in and to this Lease.

        (b)     In the event this Lease is rejected by Lessor, as debtor in possession, or by a
trustee for Lessor, pursuant to Section 365 of the Bankruptcy Code, Lessee shall not exercise its
right to elect under Section 365(h)(1) of the Bankruptcy Code to terminate or treat this Lease as
terminated. Any such election made shall be null and void. In any event, Lessee hereby waives,
for the benefit of the Mortgagee, its successors and assigns only, and not enforceable by anyone
else, the provisions of section 365 of the Bankruptcy Code, or of any statute or rule of law now
or hereafter in effect which gives or purports to give Lessee any right of election to terminate this
Lease, to acquiesce in the termination of this Lease or to surrender possession of the Premises in
the event of the bankruptcy, reorganization or insolvency of Lessee or any other party including,
without limitation, Lessor. The term "Bankruptcy Code" as used in this Lease shall mean Title
11 of the United States Code as now in effect or as it may be amended from time to time.

43.         CASUALTY AND CONDEMNATION.

The provisions of any first mortgage encumbering the Premises from time to time shall govern
with respect to casualty and condemnation (including, but not limited to, the requirements for
maintaining insurance, termination rights upon casualty or condemnation and the disposition of
any casualty proceeds or condemnation awards). Neither the Lessor nor the Lessee shall have
the right to terminate the Lease so long as any first mortgage is outstanding.

44.         AMENDED AND RESTATED.

       This Lease amends, restates and supersedes, in all respects and in its entirety, that certain
Commercial Ground Lease dated as of March 24, 2008, between Lessor and Lessee (the
"Original Lease").



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        IN WITNESS HEREOF, the said parties hereunto set their hands and seals on the date set
forth herein above.


767 8th AVENUE LLC,
a Delaware limited liability company

By: 767 Holding Corp.,
    a New Y k corporation,
    its sol nember and manager

By:
   Name: Joginder Sharma
   Title: President

SHERMAN MANAGEMENT LLC,
a Delaware limited liability company

By: Sherman Equities Inc.,
    aN       k corporation,
    its   member and manager

By:
   Name: Joginder Sharma
    Title: President




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